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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DISTRICT

 ALICE DANIELS, on behalf of herself and :
 others similarly situated,              :
                                         :
                 Plaintiff,              :              CASE NO. 2:20-cv-5859
                                         :
         v.                              :              JUDGE
                                         :
 OHIO STATE UNIVERSITY                   :              MAGISTRATE JUDGE
 PHYSICIANS, INC.,                       :
 c/o Taft Service Solutions Corp.        :              JURY DEMAND ENDORSED HEREON
 425 Walnut Street                       :
 STE. 1800                               :
 Cincinnati, OH 45202                    :
                                         :
                 Defendant.              :

PLAINTIFF’S COLLECTIVE AND CLASS ACTION COMPLAINT FOR VIOLATIONS
          OF THE FAIR LABOR STANDARDS ACT AND OHIO LAW

       Plaintiff, Alice Daniels (“Named Plaintiff” or “Daniels”), individually and on behalf of

others similarly situated, files her Complaint against Defendant, Ohio State University Physicians,

Inc. (“Defendant” or “OSUP”), for Defendant’s failure to pay employees overtime wages, seeking

all available relief under the Fair Labor Standards Act of 1938 (“FLSA”), 29 U.S.C. §§ 201, et

seq.; the Ohio Minimum Fair Wage Standards Act, O.R.C. 4111.03 and 4111.08 (“the Ohio Wage

Act”); and the Ohio Prompt Pay Act (“OPPA”), Ohio Rev. Code § 4113.15 (the Ohio Wage Act

and the OPPA will be referred to collectively as “the Ohio Acts”). The FLSA claim is brought as

a collective action pursuant to 29 U.S.C. § 216(b). The Ohio Acts claims are brought as a class

action pursuant to Rule 23. The following allegations are based on personal knowledge as to the

Named Plaintiff’s own conduct and are made on information and belief as to the acts of others.

Named Plaintiff, individually and on behalf of others similarly situated, hereby states as follows:
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       I.      JURISDICTION AND VENUE

       1.      This action is brought pursuant to the FLSA, the Ohio Acts, and 28 U.S.C. §1331.

       2.      This Court’s jurisdiction in this matter is also predicated upon 28 U.S.C. §1367 as

this Complaint raises additional claims pursuant to the laws of Ohio, over which this Court

maintains supplemental subject matter jurisdiction because they form a part of the same case or

controversy.

       3.      Venue is proper in this forum pursuant to 28 U.S.C. §1391, because Defendant

employed Named Plaintiff and others similarly situated in the Southern District of Ohio, a

substantial part of the events or omissions giving rise to the claims occurred in the Southern District

of Ohio, and Defendant conducts substantial business in the Southern District of Ohio.

       II.     PARTIES

       A. Named Plaintiff

       4.      Named Plaintiff is an individual, United States citizen, and a resident of the State

of Ohio living in the Southern District of Ohio.

       5.      Named Plaintiff was employed by Defendant beginning in or around October 2019

to present.

       6.      Named Plaintiff was employed as an hourly, non-exempt employee of Defendant

as defined in the FLSA and the Ohio Acts. Specifically, Named Plaintiff was employed as an

hourly Licensed Practical Nurse (“LPN”). During her employment with Defendant, Named

Plaintiff regularly worked forty (40) or more hours.

       7.      Named Plaintiff brings this action on behalf of herself and those similarly situated

and has given her written consent to bring this action to collect unpaid overtime compensation




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under the FLSA. Named Plaintiff’s consent is being filed along with this Complaint pursuant to

29 U.S.C. §216(b). (Consent to be Party Plaintiff, attached hereto as Exhibit A).

           B. Opt-In Plaintiffs

           8.       Tiffany Malizia (“Malizia”) was employed by Defendant as an hourly, non-exempt

employee from approximately October 2019 to November 2020. Malizia’s consent is being filed

along with this Complaint pursuant to 29 U.S.C. §216(b). (Consent to Join, attached hereto as

Exhibit B).

           9.       Julie Henderson (“Henderson”) was employed by Defendant as an hourly, non-

exempt employee from approximately July 2019 to January 2020. Henderson’s consent is being

filed along with this Complaint pursuant to 29 U.S.C. §216(b). (Consent to Join, attached hereto

as Exhibit B).

           C. Defendant

           10.      Defendant is a non-profit corporation that operates and conducts substantial

business activities in Ohio, including in the Southern District of Ohio. Defendant operates

approximately thirty (30) offices and clinics throughout Central Ohio that provide outpatient

medical care to its patients.1

           11.      Defendant employs medical assistants, patient services associates, LPNs,

Registered Nurses (“RNs”), Nurse Practitioners (“NPs”), and other healthcare providers in the

field of nursing (collectively Defendant’s LPN, RN, NP, and other healthcare employees will be

referred to as “healthcare employees”) to provide, or assist with providing, medical care to its

patients.




1
    https://www.osuphysicians.com/about-us (last visited 11/11/20).

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       12.     At all relevant times, Defendant has had direct or indirect control and authority over

Named Plaintiff’s and other similarly situated healthcare employees’ working conditions. At all

relevant times, Defendant exercised that authority and control over Named Plaintiff and other

similarly situated healthcare employees.

       13.     At all relevant times, Defendant has had direct or indirect control and authority over

matters governing the essential terms and conditions of employment for Named Plaintiff and other

similarly situated healthcare employees. At all relevant times, Defendant exercised that authority

and control over Named Plaintiff and other similarly situated healthcare employees.

       14.     At all relevant times, Defendant has had the authority to hire and fire employees,

supervise and control the work schedules and work conditions of employees, determine the rate

and method of pay, and/or maintain employee records.

       15.     Upon information and belief, Defendant applies or causes to be applied

substantially the same employment policies, practices, and procedures to all healthcare employees

at all of its locations, including policies, practices and procedures relating to the payment of wages,

overtime, and timekeeping.

       16.     At all relevant times, Defendant suffered or permitted Named Plaintiff and other

similarly situated healthcare employees to work. The work that Named Plaintiff and other similarly

situated healthcare employees performed was for Defendant’s benefit.

       17.     At all times relevant, Defendant was an employer of Named Plaintiff and other

similarly situated healthcare employees as defined in the FLSA and the Ohio Acts.

       18.     Defendant operates and controls and enterprises and employs employees engaged

in commerce or in the production of goods for commerce, or has had employees handling, selling,

or otherwise working on goods or materials that have been moved in or produced for commerce

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by any person; and Defendant has had an annual gross volume of sales made or business done of

not less than $500,000 per year (exclusive of excise taxes at the retail level).

       19.     At all times relevant hereto, Defendant was fully aware of the fact that it was legally

required to comply with the wage and overtime laws of the United States and of the State of Ohio.

       III.    FACTS

       20.     Regardless of their specific job title, certification, or licensure, Named Plaintiff and

similarly situated healthcare employees were hourly or non-exempt employees, and as such, were

required to be paid overtime at one and one-half times their regular rate of pay.

       21.     Defendant has numerous pay policies that result in Named Plaintiff and other

similarly situated healthcare employees not being paid for all hours worked, including overtime.

       A. Pre-Shift Job Duties

       22.     Defendant requires Named Plaintiff and similarly situated healthcare employees to

engage in work duties that are integral and indispensable to their job duties prior to clocking in.

       23.     Named Plaintiff and similarly situated nurses regularly arrive 15-30 minutes or

more before the start of their regularly scheduled shift in order to turn on their own computer, boot

up the necessary software, and clock in by the start of their scheduled shift. Named Plaintiff and

similarly situated healthcare employees were required to clock in at their own computer, so it was

necessary they arrive before the start of their scheduled shift to engage in this process.

       24.     Further, Named Plaintiff and similarly situated healthcare employees used their

computers to perform primary job duties, so turning on and booting up the computers were integral

and indispensable to their principal job activities.

       25.     In addition to turning on their computers, Named Plaintiff and similarly situated

healthcare employees engaged in other pre-shift job duties, including, but not limited to, checking

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provider messages, checking post-discharge calls, checking the fax server, determining which

doctors were in the clinic, reviewing patient advice requests, reviewing refill requests, and

preparing provider orders for the day. Defendant expected Named Plaintiff and similarly situated

healthcare employees to review all of the above information and prepare for the days work prior

to clocking in so they could begin productive work at the start of their scheduled shift.

         26.     Although they begin working upon their arrival well before the scheduled start of

their shifts, Named Plaintiff and similarly situated healthcare employees were not permitted to

clock in to work more than four (4) minutes prior to the start of their scheduled shift.2 Thus, all of

their pre-shift job duties described above were conducted off-the-clock and Defendant did not pay

them for this time worked.

         B. Meal Deduction

         27.     Defendant has a companywide policy of requiring healthcare employees to clock

out of work for a daily 60 minute meal break, even if healthcare employees were unable to take a

meal break, meal breaks were only partially taken, or meal breaks were interrupted with job duties.

         28.     Named Plaintiff and similarly situated healthcare employees regularly do not take

a full, uninterrupted 60-minute meal break.

         29.     Named Plaintiff and similarly situated healthcare employees were required to clock

out for their meal periods; however, while off-the-clock they were still required to have “lunch




2
 There were occasions when the facility was understaffed so management authorized overtime and allowed nurses to
clock in prior to 4 minutes before the start of their scheduled shift, but this was an exception to the general rule.

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meetings”3 with their manager, stay at the facility to receive a provider’s call, and assist other

employees and patients because Defendant was understaffed.

         30.     Named Plaintiff and similarly situated healthcare employees were expected to

answer the phone during their meal break if a provider called, and they were reprimanded by their

manager for not answering a provider’s call while they were on their meal break.

         31.     Further, in order to avoid paying overtime, Defendant at times instructed Named

Plaintiff and similarly situated healthcare employees to take an extended meal break off the clock.

However, Named Plaintiff and similarly situated healthcare employees still assisted co-workers

and answered managers’ and co-workers’ questions. Defendant also still conducted “lunch

meetings” with Named Plaintiff and similarly situated healthcare employees even though

Defendant instructed them to take an extended meal break off the clock to avoid overtime.

         C. Defendant’s Pay Policies and/or Practices Resulted in Unpaid Overtime

         32.     As a result of Defendant’s companywide pay policies and/or practices described

herein, Defendant knew or had reason to know it was not compensating Named Plaintiff and other

similarly situated healthcare employees for all hours worked.

         33.     Named Plaintiff and other similarly situated healthcare employees regularly

worked more than 40 hours per week, but they were not compensated for all overtime pay because

of Defendant’s policies or practices described herein.

         34.     Defendant’s failure to compensate Named Plaintiff and other similarly situated

healthcare employees as set forth above resulted in unpaid overtime.




3
 Named Plaintiff attended approximately two (2) “staff meetings” that were paid, but the routine “lunch meetings”
with the manager only were unpaid.

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       35.      During relevant times, Defendant suffered or permitted Named Plaintiff and those

similarly situated healthcare employees to work more than forty (40) hours per workweek, while

not compensating them for all such hours worked over forty (40) at a rate of at least one and one-

half times their regular rate of pay as a result of Defendant’s company-wide policies or practices

described above that affect Named Plaintiff and all other similarly situated healthcare employees.

       36.      Upon information and belief, Defendant, at all times relevant hereto, was fully

aware of the fact that it was legally required to comply with federal and state wage and hour laws.

       37.      During relevant times, Defendant had knowledge of and acted willfully regarding

its conduct described herein.

       38.      Defendant is in possession and control of necessary documents and information

from which Named Plaintiff would be able to calculate damages and/or it otherwise failed to keep

such records.

       IV.      FLSA COLLECTIVE ALLEGATIONS

       39.      Named Plaintiff brings her FLSA claims pursuant to 29 U.S.C. §216(b) as a

representative action on behalf of herself and all other similarly situated healthcare employees of

the opt-in class. The FLSA collective consists of the following:

                   All current and former hourly, non-exempt healthcare
                   employees of Defendant who were scheduled to work 40 or
                   more hours in any workweek during the three years preceding
                   the date of the filing of this Complaint and continuing through
                   the final disposition of this case (“FLSA Collective” or “FLSA
                   Collective Members”).

       40.      Named Plaintiff and putative FLSA Collective Members were all subject to the

same policies or practices described above which resulted in unpaid overtime.




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       41.     During some or all of the last three years, Defendant did not compensate Named

Plaintiff and the putative FLSA Collective Members for time spent performing substantial duties

for Defendant’s benefit.

       V.      RULE 23 ALLEGATIONS

       42.     Named Plaintiff brings her Ohio Wage Act claims pursuant to Fed. R. Civ. P. 23 as

a class action on behalf of herself and all other members of the following class:

               All current and former hourly, non-exempt healthcare employees of
               Defendant who were scheduled to work 40 or more hours in any
               workweek during the two years preceding the date of the filing of
               this Complaint and continuing through the final disposition of this
               case (“Ohio Rule 23 Class” or “Ohio Rule 23 Class Members”).

       43.     The Ohio Rule 23 Class includes all current or former hourly, non-exempt

healthcare employees employed by Defendant throughout the State of Ohio as defined above.

       44.     The Ohio Rule 23 Class, as defined above, is so numerous that joinder of all

members is impracticable.

       45.     Named Plaintiff is a member of the Ohio Rule 23 Class and her claim for unpaid

wages is typical of the claims of other members of the Rule 23 Class.

       46.     Named Plaintiff will fairly and adequately represent the Rule 23 Class and the

interests of all members of the Rule 23 Class.

       47.     Named Plaintiff has no interests that are antagonistic to or in conflict with those

interests of the Rule 23 Class that he has undertaken to represent.

       48.     Named Plaintiff has retained competent and experienced class action counsel who

can ably represent the interests of the entire Ohio Rule 23 Class.

       49.     Questions of law and fact are common to the Ohio Rule 23 Class.




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         50.   Class certification is appropriate under Fed. R. Civ. P. 23(b)(1) because individual

actions would create the risk of inconsistent or varying adjudications that would establish

incompatible standards of conduct for Defendant with respect to its non-exempt employees.

         51.   Class certification is appropriate under Fed. R. Civ. P. 23(b)(2) as Defendant acted

or refused to act on grounds generally applicable to the Ohio Rule 23 Class, making appropriate

declaratory and injunctive relief with respect to Named Plaintiff and the Ohio Rule 23 Class as a

whole.

         52.   Class certification is appropriate under Fed. R. Civ. P. 23(b)(3) as the questions of

law and facts common to the Ohio Rule 23 Class predominate over questions affecting individual

members of the Ohio Rule 23 Class and because a class action is superior to other available

methods for the fair and efficient adjudication of this litigation.

         53.   Questions of law and fact that are common to the Ohio Rule 23 Class include, but

are not limited to: (a) whether Defendant violated the Ohio Wage Act by failing to pay the Ohio

Rule 23 Class for hours worked in excess of forty hours per week because of the pay policies and

practices described herein; (b) whether Defendant kept accurate records of the amount of time the

Ohio Rule 23 Class was working each day; (c) whether Defendant’s violations of the Ohio Wage

Act were knowing and willful; (d) what amount of unpaid and/or withheld compensation,

including overtime compensation, is due to Named Plaintiff and other members of the Ohio Rule

23 Class on account of Defendant’s violations of the Ohio Acts; and (e) what amount of

prejudgment interest is due to Ohio Rule 23 Class members on the overtime or other compensation

which was withheld or not paid to them.

         54.   A class action is superior to individual actions for the fair and efficient adjudication

of Named Plaintiff’s claims and will prevent undue financial, administrative, and procedural

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burdens on the parties and the Court. Named Plaintiff and counsel are not aware of any pending

Ohio litigation on behalf of the Ohio Rule 23 Class, as defined herein, or on behalf of any

individual alleging a similar claim. Because the damages sustained by individual members are

modest compared to the costs of individual litigation, it would be impractical for class members

to pursue individual litigation against the Defendant to vindicate its rights. Certification of this

case as a class action will enable the issues to be adjudicated for all class members with the

efficiencies of class litigation.

        VI.     CAUSES OF ACTION

                            FIRST CAUSE OF ACTION:
                FLSA – COLLECTIVE ACTION FOR UNPAID OVERTIME

        55.     All of the preceding paragraphs are realleged as if fully rewritten herein.

        56.     This claim is brought as part of a collective action by Named Plaintiff on behalf of

herself and the FLSA Collective.

        57.     The FLSA requires that employees receive overtime compensation for hours

worked in excess of forty (40) per week. 29 U.S.C. § 207(a)(1).

        58.     During the three years preceding the filing of this Complaint, Defendant employed

the Named Plaintiff and the FLSA Collective Members.

        59.     Named Plaintiff and the FLSA Collective Members were paid on an hourly basis

and worked in non-exempt positions.

        60.     Named Plaintiff and the FLSA Collective Members regularly worked in excess of

40 hours in workweeks.

        61.     Defendant violated the FLSA with respect to Named Plaintiff and the FLSA

Collective Members by, inter alia, failing to pay overtime for all hours worked over forty (40)



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hours in a workweek because of Defendant’s companywide pay policies and/or practices described

herein, to wit, not paying them for time worked for integral and indispensable job duties that they

were employed to perform. The uncompensated work was completed both before and during their

scheduled shifts, including permitting and suffering them to work before the scheduled start of

their shifts and during meal breaks while off-the-clock.

       62.     Named Plaintiff and the FLSA Collective Members were not exempt from

receiving FLSA overtime benefits.

       63.     Defendant knew or should have known of the overtime payment requirements of

the FLSA. Despite such knowledge, Defendant willfully withheld and failed to pay the overtime

compensation to which Named Plaintiff and the FLSA Collective Members are entitled.

       64.     The exact total amount of compensation, including overtime compensation, that

Defendant has failed to pay Named Plaintiff and the FLSA Collective Members is unknown at this

time, as many of the records necessary to make such precise calculations are in the possession of

Defendant or were not kept by Defendant.

       65.     As a direct and proximate result of Defendant’s conduct, Named Plaintiff and the

FLSA Collective Members have suffered and continue to suffer damages. Named Plaintiff seeks

unpaid overtime and other compensation, liquidated damages, interest and attorneys’ fees, and all

other remedies available, on behalf of herself and the FLSA Collective Members.

                           SECOND CAUSE OF ACTION:
          R.C. 4111.03 — RULE 23 CLASS ACTION FOR UNPAID OVERTIME

       66.     All of the preceding paragraphs are realleged as if fully rewritten herein.

       67.     This claim is brought under Ohio Law.

       68.     Named Plaintiff and the Ohio Rule 23 Class Members have been employed by

Defendant, and Defendant is an employer covered by the overtime requirements under Ohio Law.
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       69.     The Ohio Wage Act requires that employees receive overtime compensation “not

less than one and one-half times” (1.5) the employee’s regular rate of pay for all hours worked

over forty (40) in one workweek, “in the manner and methods provided in and subject to the

exemptions of section 7 and section 13 of the Fair Labor Standards Act of 1937.” See O.R.C.

§ 4111.03(A); see also 29 U.S.C. § 207(a)(1).

       70.     Named Plaintiff and the Ohio Rule 23 Class Members worked in excess of the

maximum weekly hours permitted under O.R.C. § 4111.03, but were not paid overtime wages for

all of such time spent working.

       71.     Defendant’s    companywide       policies   and/or   practices   described    herein

impermissibly reduced Named Plaintiff’s and Rule 23 Class Members' compensable hours worked

and resulted in unpaid overtime.

       72.     Named Plaintiff and the Ohio Rule 23 Class Members were not exempt from the

wage protections of the Ohio Wage Act.

       73.     Defendant’s repeated and knowing failures to pay overtime wages to Named

Plaintiff and the Ohio Rule 23 Class members were violations of R.C. §4111.03, and as such,

Defendant willfully withheld and failed to pay the overtime compensation to which Named

Plaintiff and the Ohio Rule 23 Class Members were entitled.

       74.     For Defendant’s violations of R.C. §4111.03, by which Named Plaintiff and the

Ohio Rule 23 Class Members have suffered and continue to suffer damages, Named Plaintiff seeks

unpaid overtime and other compensation, liquidated damages, interest and attorneys’ fees, and all

other remedies available, on behalf of herself and the Rule 23 Class Members.

                              THIRD CAUSE OF ACTION:
             R.C. 4113.15 — RULE 23 CLASS ACTION FOR OPPA VIOLATION

       75.     All of the preceding paragraphs are realleged as if fully rewritten herein.
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       76.     Named Plaintiff and the Ohio Rule 23 Class Members were employed by

Defendant.

       77.     During all relevant times, Defendant was an entity covered by the OPPA and Named

Plaintiff and the Ohio Rule 23 Class Members have been employed by Defendant within the

meaning of the OPPA.

       78.     The OPPA requires Defendant to timely pay Named Plaintiff and the Ohio Rule

23 Class Members all wages, including unpaid overtime, in accordance with O.R.C. § 4113.15(A).

       79.     During relevant times, Named Plaintiff and the Ohio Rule 23 Class Members were

not paid all wages, including overtime wages at one and one-half times their regular rate of pay

within thirty (30) days of performing the work. See O.R.C. § 4113.15(B).

       80.     Named Plaintiff and the Ohio Rule 23 Class Members unpaid wages remain unpaid

for more than thirty (30) days beyond their regularly scheduled payday.

       81.     In violating the OPPA, Defendant acted willfully, without a good faith basis, and

with reckless disregard of clearly applicable Ohio law.

                    FOURTH CAUSE OF ACTION:
         RECORDKEEPING VIOLATIONS OF THE OHIO WAGE ACT

       82.     All of the preceding paragraphs are realleged as if fully rewritten herein.

       83.     The Ohio Wage Act requires employers to maintain and preserve payroll or

other records containing, among other things, the hours worked each workday, and the total

hours worked each workweek. See O.R.C. § 4111.08. See also, 29 C.F.R. §§ 516.2 et seq.

       84.     During times material to this complaint, Defendant was a covered employer, and

required to comply with the Ohio Wage Act’s mandates.




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       85.     Named Plaintiff and the Ohio Rule 23 Class Members were covered employees

entitled to the protection of the Ohio Wage Act.

       86.     During times material to this complaint, Defendant violated the Ohio Wage Act

with respect to Named Plaintiff and the Ohio Rule 23 Class Members by failing to properly

maintain accurate records of all hours Named Plaintiff and the Rule 23 Class Members worked

each workday and within each workweek.

       87.     In violating the Ohio Wage Act, Defendant acted willfully and with reckless

disregard of clearly applicable Ohio Wage Act provisions.

       VII.    PRAYER FOR RELIEF

       WHEREFORE, Named Plaintiff requests judgment against Defendant for an Order:

       A.      Certifying the proposed FLSA collective action;

       B.      Directing prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to the FLSA

Collective apprising them of the pendency of this action, and permitting them to timely assert their

rights under the FLSA and pursuant to 29 U.S.C. § 216(b);

       C.      Certifying the proposed Rule 23 Class under the Ohio Acts;

       D.      Finding Defendant failed to keep accurate records in accordance with the Ohio

Wage Act, and as such, Named Plaintiff, the FLSA Collective Members, and the Ohio Rule 23

Class Members are entitled to prove their hours worked with reasonable estimates;

       E.      Awarding to Named Plaintiff and the FLSA Collective Members unpaid

compensation, including overtime wages as to be determined at trial together with any liquidated

damages allowed by the FLSA;




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       F.      Awarding to Named Plaintiff and the Ohio Rule 23 Class Members unpaid

compensation, including overtime wages as to be determined at trial together with any liquidated

damages allowed by the Ohio Wage Act;

       G.      Awarding judgment against Defendant for liquidated damages pursuant to the

OPPA in the greater amount of $200 per violation or six percent (6%) of all unpaid overtime

compensation owed to the Named Plaintiff and the Ohio Rule 23 Class Members during the

applicable statutory period;

       H.      Awarding Named Plaintiff, the FLSA Collective Members, and the Ohio Rule 23

Class Members costs and disbursements and reasonable allowances for fees of counsel and experts,

and reimbursement of expenses;

       I.      Awarding Named Plaintiff, the FLSA Collective Members, and the Ohio Rule 23

Class Members such other and further relief as the Court deems just and proper;

       J.      Issuing an injunction prohibiting Defendant from engaging in present, ongoing and

future violations of the FLSA and the Ohio Wage Act;

       K.      Granting Named Plaintiff leave to amend to file additional claims for relief or

different causes of action should information become available through investigation and

discovery;

       L.      Rendering a judgment against Defendant for all damage, relief, or any other

recovery whatsoever;

       M.      An Order directing Defendant to pay reasonable attorney’s fees and all costs

connected with this action; and

       N.      Such other and further relief as to this Court may deem necessary, just and proper.




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                                             Respectfully submitted,

                                             COFFMAN LEGAL, LLC

                                             /s/ Matthew J.P. Coffman
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                                             Attorneys for Named Plaintiff and those similarly
                                             situated


                                       JURY DEMAND

      Named Plaintiff requests a trial by a jury of eight (8) persons.


                                             /s/ Matthew J.P. Coffman
                                             Matthew J.P. Coffman




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